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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MITCHELL CLIMONS,                       )
                                        )
                     Plaintiff,         )
                                        )       Case No. 17-cv-8826
      vs.                               )
                                        )       Hon. Manish Shah,
CITY OF CHICAGO,                        )       Judge Presiding
a municipal corporation,                )
G. CORONA #8159,                        )       Hon. Maria Valdez,
S. MARTINEZ #19512,                     )       Mag. Judge Presiding
JOSEPH WATSON #15573,                   )
City of Chicago Police Officers,        )
                                        )
                     Defendants.        )

                           FIRST AMENDED COMPLAINT

Jurisdiction/Venue

   1. This arrest of the Plaintiff occurred on or about November 4, 2016, in

      Chicago, Cook County, Illinois.

   2. The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42

      U.S.C. § 1983, § 1988, the judicial code 28 U.S.C. § 1331, and § 1343(a); the

      Constitution of the United States, and pendent jurisdiction, as provided

      under U.S.C. § 1367(a).

   3. Venue is proper under 28 U.S.C. § 1391(b). On information and belief, all of

      the parties reside in this judicial district, and the events giving rise to the

      claims asserted herein all occurred within the district.




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Parties

   4. The Plaintiff, Mitchell Climons, is a resident of Cook County, Illinois, located

        in the Northern District of Illinois.

   5. Defendant City of Chicago is a municipal corporation and, at all times

        relevant to this Complaint, was a principal employer of the Defendant Police

        Officers G. Corona, S. Martinez, and Joseph Watson, who were acting under

        color of law and in the scope of their employment with Defendant City of

        Chicago as duly sworn police officers. These officers will be referred to as the

        “Defendant Officers” in this Complaint.

Facts

   6. Police Reports and later sworn testimony differ with regard to timing of the

        incident in question. The Defendant Officers falsely claimed in their police

        reports that they had an interaction with the Plaintiff on September 12,

        2016, but later Officers Corona and Watson claimed at trial that the alleged

        interaction occurred on October 26, 2016.

   7. The Defendant Officers falsely claimed in police reports (and later at trial

        Corona and Watson made the same false claims under oath) that Watson

        performed a controlled buy of heroin from the Plaintiff, and that Corona and

        Martinez detained the Plaintiff in the area, whereafter Watson identified the

        Plaintiff as the person who sold Watson drugs.

   8. The aforementioned claims are false. The Plaintiff did not sell Watson, or any

        other police officer, heroin on either of the dates claimed, nor was he even



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   detained in the area on either of those dates. In other words, this event was a

   complete fabrication on the part of the Defendant Officers, made in police

   reports, and later repeated under oath at trial.

9. On November 4, 2016, Defendant Officers Corona and Martinez arrested the

   Plaintiff though he had committed no crime, maliciously and without

   probable cause or other legal justification.

10. Defendant Officer Watson also caused the Plaintiff to be falsely arrested and

   maliciously prosecuted by falsely claiming and later testifying that the

   Plaintiff sold him heroin—a claim that Defendant Officers Corona and

   Martinez knew to be false.

11. Thereafter, the Defendant Officers maliciously and without probable cause

   made false statements in police reports, and caused an indictment to be

   brought against the Plaintiff, charging him with, inter alia, manufacture and

   delivery of heroin, a class X felony, thereby subjecting the Plaintiff to a

   criminal prosecution in the Circuit Court of Cook County, Illinois, in the

   matter of People of the State of Illinois v. Mitchell Climons, Case No. 16 CR

   17479.

12. The Plaintiff was found not guilty at a bench trial on March 27, 2017.

13. As a result, the above criminal legal proceeding was terminated in a manner

   consistent with the innocence of the Plaintiff.

14. The Plaintiff wrongfully spent 143 days in custody at the Cook County Jail

   awaiting trial for these false charges.



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   15. As a result of the false arrest, malicious prosecution, unlawful pretrial

      detention, and all of the other aforementioned actions by the Defendant

      Officers, the Plaintiff suffered damages, including but not limited to

      incarceration, loss of liberty, severe emotional distress, and pecuniary

      damages.

                      COUNT I 42 U.S.C. § 1983 False Arrest
                       (Plaintiff against Defendant Officers)

   16. Each paragraph of this Complaint is fully restated herein.

   17. The Defendant Officers had no probable cause or any other legal justification

      to arrest the Plaintiff, or to cause him to be arrested, and in doing so, they

      violated the Plaintiff’s rights under the Fourth Amendment to the United

      States Constitution.

   18. As a result of the actions of the Defendant Officers, the Plaintiff suffered

      damages, including but not limited to incarceration, a loss of liberty, severe

      emotional distress, and pecuniary damages.

      WHEREFORE, Plaintiff Mitchell Climons demands substantial

compensatory damages against the Defendant Officers, plus attorneys’ fees and

costs, plus, because the Defendant Officers acted maliciously and/or oppressively,

substantial punitive damages, and any such other and additional relief as this

Court deems equitable and just.

              COUNT II 42 U.S.C. § 1983 Unlawful Pretrial Detention
                     (Plaintiff against Defendant Officers)

   19. Each paragraph of the Complaint is fully restated herein.



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   20. The Defendant officers caused the commencement of a criminal case against

      the Plaintiff, falsely, maliciously, and without probable cause.

   21. The charges against the Plaintiff were ultimately dismissed, in a manner

      indicative of his innocence.

   22. The probable cause determination in this case was predicated solely on the

      Defendant Officers’ fabrications regarding the Plaintiff’s conduct.

   23. As a result, the Defendant Officers’ false statements proximately caused the

      Plaintiff to be confined without constitutionally adequate justification.

   24. In so doing, they violated the Plaintiff’s rights under the Fourth Amendment

      to the United States Constitution.

   25. As a result of the actions of the Defendant Officers, the Plaintiff suffered

      damages, including but not limited to incarceration, a loss of liberty, severe

      emotional distress, and pecuniary damages.

      WHEREFORE, Plaintiff Mitchell Climons demands substantial

compensatory damages against the Defendant Officers, plus attorneys’ fees and

costs, plus, because the Defendant Officers acted maliciously and/or oppressively,

substantial punitive damages, and any such other and additional relief as this

Court deems equitable and just.

                         COUNT III – STATE LAW CLAIM
                                Malicious Prosecution
         (Plaintiff against the Defendant Officers and the City of Chicago)

   26. Each paragraph of this Complaint is restated fully herein.




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   27. As described above, the Defendant Officers, without legal justification or

      probable cause, caused the Plaintiff to be criminally prosecuted in the Circuit

      Court of Cook County.

   28. As described above, the Plaintiff’s case was resolved in his favor, in a manner

      consistent with his innocence.

   29. As a result of this wrongful infringement of the Plaintiff’s rights, the Plaintiff

      suffered damages, including but not limited to incarceration, a loss of liberty,

      severe emotional distress, and pecuniary damages.

   30. The City of Chicago is liable on this claim due to respondeat superior.

      WHEREFORE, Plaintiff Mitchell Climons demands substantial

compensatory damages against the Defendant Officers, plus costs, plus, because the

Defendant Officers acted maliciously and/or oppressively, substantial punitive

damages against the Defendant Officers, and any such other and additional relief as

this Court deems equitable and just.

                         COUNT IV – STATE LAW CLAIM
                                Indemnification

   31. Each paragraph of this Complaint is fully restated herein.

   32. In committing the acts alleged in the preceding paragraphs, the Defendant

      Officers were acting as agents or employees of the Defendant City of Chicago

      and were working in the course and scope of their employment and under

      color of law. In Illinois, public entities are directed to pay any tort judgment

      for compensatory damages for which employees are liable within the scope of

      their employment activities.

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   33. The City of Chicago is the indemnifying entity for the actions of the

      Defendant Officers, who took actions while under color of law and in the

      course and scope of their employment with the City of Chicago.

                                  Request for Relief

      The Plaintiff respectfully requests that the Court enter judgment in his favor

and against the Defendants, award compensatory damages and attorneys’ fees and

costs against all Defendants, award punitive damages against the Defendant

Officers in their individual capacities, and grant any other equitable relief this

Court deems just and appropriate.



PLAINTIFF DEMANDS TRIAL BY JURY.

                                               Respectfully Submitted,

                                               /s/ Christopher A. Tinsley
                                               One of the Attorneys for
                                               the Plaintiff

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